          Case 1:21-cr-00117-TFH Document 40 Filed 07/08/21 Page 1 of 5




                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                     :
                                              :
        v.                                    : No. 21-cr-117 (TFH)
                                              :
ALEX HARKRIDER,                               :
     Defendant.                               :


                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                  MOTION TO MODIFY RELEASE CONDITIONS

       The United States of America respectfully submits this memorandum in opposition to

Defendant Alex Harkrider’s request for modifying his release conditions. Defendant Harkrider

has been indicted on eight counts arising from his participation in the violent attack on the United

States Capitol on January 6, 2021. While thus far he has been in compliance with his release

conditions, there is no reason to change them at this time.

                                      PROCEDURAL HISTORY

       On February 12, 2021, Defendant Harkrider was indicted by a federal grand jury for his

role in the attack on the United States Capitol on January 6, 2021. The indictment charged five

felonies and three misdemeanors arising from Defendant Harkrider’s actions in the Capitol on

January 6, 2021, including violations of 18 U.S.C. §§ 231(a)(3) and 1512(c)(2). Counts Six and

Eight of the indictment allege that Defendant Harkrider entered and remained, and engaged in

disorderly and disruptive conduct, in a restricted building or grounds while carrying a deadly and

dangerous weapon, namely a tomahawk axe, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A)

and 18 U.S.C. § 1752(a)(2) and (b)(1)(A). Count Ten alleges that Defendant Harkrider “did carry

and have readily accessible, a dangerous weapon, that is a tomahawk axe, on the United States
          Case 1:21-cr-00117-TFH Document 40 Filed 07/08/21 Page 2 of 5




Capitol Grounds” in violation of 40 U.S.C. § 5104(e)(1)(A)(i).

        On January 22, 2021, the government presented evidence and argued for the defendant’s

detention before a U.S. Magistrate Judge in the Eastern District of Texas. The government argued

that detention was authorized in this case because, as explained below, Defendant Harkrider had

committed felonies that involve a dangerous and deadly weapon (a tomahawk axe), and there are

serious risks that he will flee and obstruct or attempt to obstruct justice. The government further

argued that the defendant poses an ongoing danger to the community that no conditions of pretrial

release can mitigate. See 18 U.S.C. § 1342(f)(E), (f)(2)(A), (f)(2)(B), (g)(4). The Magistrate Judge

agreed and ordered that Defendant Harkrider be detained, finding there were no conditions

                that would reasonably assure the safety of the community or Mr.
                Harkrider's appearance. Specifically, as to this Defendant, there are
                text communications discussing bringing firearms to the Capitol.
                Mr. Harkrider did, in fact, bring a weapon into the Capitol, although
                not a firearm. There is video evidence showing him trying to and
                successfully getting into the Capitol. In addition to the instant
                offense, I am concerned about his mental health history and his past
                issues with alcohol consumption. . . . But for all of these reasons,
                Mr. Harkrider is going to be detained pending trial.

See Transcript of Detention Hearing at 74-75.

        On April 26, 2021, a hearing was held before this Court to revoke the order of detention.

After hearing the evidence and arguments, and noting that the issue of detention was a close call,

the Court agreed to release the defendant to house arrest with various release conditions, one of

which is electronic monitoring. On June 23, 2021 the defendant filed a motion to remove this

particular condition of release 1.




1
  Per the District of Columbia Pretrial Services Agency, the defendant is on location monitoring-radio
frequency (RF), not GPS monitoring. This means that they know when the defendant leaves and enters
the house, but his every movement is not tracked.


                                                   2
              Case 1:21-cr-00117-TFH Document 40 Filed 07/08/21 Page 3 of 5




                                                   ARGUMENT

           The defendant argues that because he has been compliant for 60 days, there is no need for

him to continue on electronic monitoring. The government is relieved to hear that the defendant

is in compliance with his conditions of release, but does not agree that means the conditions of

release should change. In fact, the defendant is expected to abide by his conditions of release and

that fact that he is doing so is indicative that his release plan is a success.

           The defense relies a lot on the input of the Texas pretrial release officer, Lupe Saucedo. 2

The defense claims that Mr. Saucedo urged the defense to file this motion and that he believes the

electronic monitoring condition should be removed. While there is some dispute on the original

recommendation, after hearing from the D.C. pretrial release office, they stated that they defer to

court on the condition of the location monitoring-radio frequency (RF).

           The facts of this case are very concerning and the defendant has been indicted on very

serious charges. The defendant chose to travel to Washington, D.C., while transporting firearms

and armed with a ballistic vest and a Tomahawk axe, in a misguided effort to obstruct the

historically peaceful transition of power and overthrow the government. While he was ultimately

unsuccessful, his actions on January 6, 2021 were appallingly dangerous. He forced his way into

the United States Capitol, armed with a weapon and prepared for a violent confrontation. The

defendant did this based on his apparent belief that the November 3, 2020 was somehow

fraudulent. Now that he is released, it is more important than ever to ensure the safety of the

community. Former President Trump continues to make false claims about the election, insinuate

that he may be reinstalled in the near future as President without another election, and minimize

the violent attack on the Capitol. Television networks continue to carry and report on those claims,



2
    Defense counsel refers to “Luke Salcedo,” but the Texas pretrial officer’s name is Lupe Saucedo.

                                                           3
          Case 1:21-cr-00117-TFH Document 40 Filed 07/08/21 Page 4 of 5




with some actually giving credence to the false reporting. The defendant in this case is not a good

candidate to be out in the community without electronic monitoring to ensure the safety of the

community and the safety of democracy in the current environment, especially after only 60 days.

There is no evidence that the defendant has changed his views or beliefs, nor are there any changed

circumstances since the last hearing on April 26, 2021.

                                            CONCLUSION

       WHEREFORE, the government respectfully opposes the defendant’s motion to modify

the bond conditions.

                                       Respectfully submitted,

                                       CHANNING PHILLIPS
                                       ACTING UNITED STATES ATTORNEY

                                  By: /s/Brittany Keil
                                      BRITTANY KEIL
                                      Assistant United States Attorney
                                      D.C. Bar 500054
                                      U.S. Attorney’s Office
                                      555 4th Street NW, Room 11-824D
                                      Washington, D.C. 20530
                                      202-252-7763
                                      Brittany.Keil@usdoj.gov


                                      /s/ Danielle Rosborough
                                      DANIELLE ROSBOROUGH
                                      D.C. Bar No. 1016234
                                      Trial Attorney, National Security Division
                                      United States Department of Justice
                                      950 Pennsylvania Avenue NW
                                      Washington, D.C. 20004
                                      202-514-0073
                                      Danielle.Rosborough@usdoj.gov




                                                4
          Case 1:21-cr-00117-TFH Document 40 Filed 07/08/21 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing opposition to the motion for modifications of

release conditions been served upon defense counsel, Kira West, by email and ECF/PACER

notification, on this day, July 8, 2021.


                                             /s/Brittany Keil
                                           BRITTANY KEIL
                                           Assistant United States Attorney




                                                    5
